            Case 2:22-cv-01009-TL Document 103 Filed 04/03/23 Page 1 of 4




                                                           THE HONORABLE TANA LIN
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                          UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON
                                SEATTLE DIVISION
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10   SECURITIES AND EXCHANGE
     COMMISSION,
11                                                No. 2:22-cv-01009
                           Plaintiff,
12                                                JOINT STIPULATED NOTICE TO
           v.                                     EXTEND THE TIME TO RESPOND
13
     ISHAN WAHI, NIKHIL WAHI, and
14   SAMEER RAMANI,                               NOTE ON MOTION CALENDAR:
                                                  APRIL 3, 2023
15
                           Defendants.
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                                                                        SEC
     JOINT STIPULATED NOTICE TO EXTEND THE TIME                    100 F Street NE
     TO RESPOND                                               Washington, D.C., 20549
     CASE NO. 2:22-CV-01009                                  Tel. 202-551-4737  sec.gov
              Case 2:22-cv-01009-TL Document 103 Filed 04/03/23 Page 2 of 4




 1           Pursuant to Judge Lin’s Standing Order for All Civil Cases, Plaintiff Securities and
 2   Exchange Commission (“SEC”) and Defendants Ishan Wahi and Nikhil Wahi, by and through
 3   their undersigned counsel, stipulate to a revised schedule for the SEC to file an Opposition to the
 4   Wahis’ Motion to Dismiss (Dkt. #33).1 The current deadline for the SEC’s Opposition is April
 5   6, 2023. (See Nov. 28, 2022 Notice to Filer). For the reasons set forth below, the SEC and the
 6   Wahis request the Clerk to reset the deadline for the SEC’s Opposition to June 15, 2023 and the
 7   Wahis Reply to July 15, 2023.
 8           At this time, the SEC has an agreement in principle with Ishan Wahi to resolve all of the
 9   SEC’s claims in this matter. The SEC and Nikhil Wahi are also in good faith discussions that
10   may resolve the SEC’s claims. Any settlement recommended by SEC staff must be reviewed
11   within the SEC and approved by the SEC’s Commissioners before it may be submitted to the
12   Court for approval, a process than can take a number of weeks. To allow time for: 1) the SEC
13   and Ishan Wahi to finalize the terms of a settlement; 2) the SEC and Nikhil Wahi to move forward
14   on settlement discussions; and 3) for the SEC’s Commissioners to review proposed settlements,
15   the parties jointly request that the deadline for the SEC’s Opposition be moved to June 15, 2023.
16   The Wahis’ Reply would be due July 15, 2023. The Parties further agree that discovery shall be
17   stayed in this case until the resolution of the Wahis’ Motion to Dismiss.
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19           DATED this 3rd Day of April, 2023
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21           SO STIPULATED.
22                                                         Respectfully submitted,
23
                                                           /s/ James M. Burnham
24
                                                           James M. Burnham, Admitted Pro Hac Vice
25                                                         JONES DAY

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       The SEC has filed a Motion for Alternative Service on Defendant Sameer Ramani (Dkt. #28) but has not
27   otherwise been contacted by Ramani or by an attorney representing him in this matter.

                                                                                          SEC
     JOINT STIPULATED NOTICE TO EXTEND THE TIME                                      100 F Street NE
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            Case 2:22-cv-01009-TL Document 103 Filed 04/03/23 Page 3 of 4




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            Case 2:22-cv-01009-TL Document 103 Filed 04/03/23 Page 4 of 4




 1
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                                             Local Counsel for Defendants Ishan Wahi and
 7                                           Nikhil Wahi

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